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 9
                       IN THE UNITED STATES DISTRICT COURT
10
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
11

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14   UNITED STATES OF AMERICA, et                 CASE NO. CV 91-00589 VAP
     al.,
15                                                JOINT STATUS REPORT
                                    Plaintiffs,
16                                                Courtroom: Spring Street 14
                 v.                               Judge:     Hon. Virginia A. Phillips
17

18   SHELL OIL COMPANY, et al.,
19                                 Defendants
20

21                                    INTRODUCTION
22        The Parties present this Joint Status Report to update the court on the decision
23   of the Federal Circuit in Shell Oil Co. v. United States, 896 F.3d. 1299 (Fed. Cir.
24   2018), which directly affects the present case, and to inform the Court that the
25   Parties are in the process of discussing settlement. The issues before this Court
26   involve claims by the United States and the State of California against the Oil
27   Companies for recovery of response costs pursuant to the Comprehensive
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                                       1      CASE NO. CV 91-00589 VAP - JOINT STATUS REPORT
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 1   Environmental Response, Compensation, and Liability Act (“CERCLA”), 42
 2   U.S.C. §§ 9601 et seq., at the McColl Superfund Site in Fullerton, California
 3   (“McColl Site” or “Site”), as detailed in the Parties’ Joint Status Report filed on
 4   December 6, 2013 (Docket No. 630) and attached hereto as Exhibit A (“2013 Joint
 5   Status Report”). The present Joint Status Report: (1) summarizes relevant events
 6   that have occurred since the 2013 Joint Status Report was filed; (2) informs the
 7   Court of upcoming settlement discussions among the Parties; and (3) suggests that
 8   the Court set a Status Conference after receiving a report, to be filed no later than
 9   June 10, 2019, regarding the results of those negotiations.
10                                         PARTIES
11        The two plaintiffs in this action to recover environmental cleanup costs are:
12   (1) the United States of America (“United States”); and (2) the State of California,
13   ex rel. California Department of Health Services, Hazardous Substance Account,
14   and Hazardous Substance Cleanup Fund (“State”). The four defendants are:
15   (1) Shell Oil Company; (2) Union Oil Company of California; (3) Atlantic
16   Richfield Company; and (4) Texaco, Inc. (the “Oil Companies”).
17            SUMMARY OF LITIGATION AND REMAINING CLAIMS
18   I.    CASE HISTORY SINCE THE 2013 JOINT STATUS REPORT
19        At the time of the 2013 Joint Status Report, the United States and the Oil
20   Companies had briefed an appeal before the Federal Circuit Court of Appeals
21   regarding the Court of Federal Claims’ grant of summary judgment to the United
22   States regarding the Oil Companies’ contract-based claims. The Federal Circuit
23   reversed the grant of summary judgment and remanded the case to the Court of
24   Federal Claims for further proceedings “regarding what portion of the non-benzol
25   waste . . . was created ‘by reason of the avgas program.’” Shell Oil Co. v. United
26   States, 751 F.3d 1282, 1302 (Fed. Cir. 2014) (internal quotes and citations omitted).
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 1         The Court of Federal Claims ultimately awarded the Oil Companies
 2   $99.5 million in past costs and interest incurred through November 30, 2015. Shell
 3   Oil Co. v. United States, 130 Fed. Cl. 8 (Fed. Cl. 2017). The United States
 4   appealed the decision, and the Federal Circuit affirmed the Court of Federal Claims,
 5   holding that the United States is “liable for all of the Oil Companies’ clean-up costs
 6   for non-benzol waste at the McColl Site” pursuant to the indemnification provisions
 7   of the avgas contracts between the United States and the Oil Companies. Shell, 896
 8   F.3d at 1306.
 9         On September 11, 2018, the Mandate was entered in the Court of Federal
10   Claims pursuant to Rule 41(a) of the Federal Rules of Appellate Procedure.
11   (Docket No. 232, Federal Court of Claims, Shell Oil Co., at al. v. United States
12   (Consl. Ct. No. 06-141 C).) The United States did not seek review in the Supreme
13   Court of the United States, the time for seeking review has now expired, and the
14   judgment is accordingly final. The Defendants’ contract case is thus concluded.
15         On September 19, 2017, the State resolved its CERCLA cost recovery claim
16   against the United States, in its capacity as a liable party for the 6.25 percent of the
17   State’s response costs related to the Site that is attributable to benzol waste, for the
18   period of July 2011 through June 2016, with the entry of another Partial Consent
19   Decree (Docket No. 635).
20   II.     REMAINING CLAIMS
21         The only claims pending in this case are Plaintiffs’ claims for CERCLA
22   response costs, consisting of: (1) the United States’ claim for environmental
23   response costs incurred generally between July 1, 1990 and July 31, 2018, plus
24   related prejudgment interest, in an amount that the United States estimates to total
25   approximately $45.7 million; and (2) the State’s claim for environmental response
26   costs incurred generally between October 1990 and June 30, 2018, plus related
27   prejudgment interest. As noted above, the State has settled with the United States
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 1   for the 6.25 percent of the State’s claim for costs incurred between October 1990
 2   through June 2016 that were attributable to benzol waste. The State’s claims for the
 3   remainder of its costs have been stayed for more than a decade, pending the
 4   outcome of the litigation between the Oil Companies and the United States in the
 5   Federal Circuit. Given the passage of time, Plaintiffs intend to append their
 6   additional costs and interest incurred, and the State intends to credit any payments
 7   that may have been received. Plaintiffs estimate that this updated accounting will
 8   be completed within the next thirty days.
 9   III.   PROPOSAL FOR TIMING OF SETTLEMENT DISCUSSIONS AND SECOND
            STATUS REPORT
10
            Although Sections III through V of the 2013 Joint Status Report remain
11
     informative of the Parties’ various perspectives on the history of the case, the
12
     question whether to stay proceedings in this Court until the Court of Federal Claims
13
     action is final is now moot. The Parties agree that it is in their interests and in the
14
     interest of judicial economy that they discuss a potential settlement that could
15
     resolve the Plaintiffs’ remaining claims in this case. The Parties further agree that it
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     is appropriate for the stay to remain in place to allow settlement discussions to
17
     proceed. However, in the event the Parties are unable to reach a settlement of the
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     Plaintiffs’ claims for response costs by May 25, 2019, the Parties will notify the
19
     Court by filing an updated Joint Status Report no later than June 10, 2019 and
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     request that a status conference with the Court be conducted at the Court’s earliest
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     convenience. If the Court wishes to hold a status conference before June 10, 2019,
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     the Parties will be prepared to attend such a conference and to answer any questions
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     the Court may have.
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                                                 Attorney General of California
 3
                                                 /s/ Dennis A. Ragen
 4
                                                 DENNIS A. RAGEN
 5                                               Deputy Attorney General
                                                 Attorneys for Plaintiff State of
 6                                               California
 7
                                                 PLAINTIFF UNITED STATES
 8     Dated: March 4, 2019                      OF AMERICA
 9
                                                 /s/ William A Weinischke
10
                                                 WILLIAM A. WEINISCHKE
11                                               Senior Trial Attorney
                                                 Environmental Enforcement
12                                               Section
                                                 Environment and Natural
13                                               Resources Division
                                                 United States Department of Justice
14                                               Counsel for the United States
15

16     Dated: March 4, 2019                      DEFENDANTS SHELL OIL
                                                 COMPANY, UNION OIL
17                                               COMPANY OF CALIFORNIA,
                                                 ATLANTIC RICHFIELD
18                                               COMPANY AND TEXACO, INC.
19                                               /s/ Greg A. Christianson
20                                               GREG A. CHRISTIANSON, ESQ.
                                                 Morgan Lewis & Bockius LLP
21                                               Counsel for Shell Oil Company,
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22                                               Atlantic Richfield Company and
                                                 Texaco, Inc.
23

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                              EXHIBIT A
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 8   ex. rel. California Department ofElealth Service,
     Hazardous Substance Account, and Hazardous
 9   Substance Cleanup Fund
10
                           UNITED STATES DISTRICT COURT
11
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DISTRICT
12
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14
     UNITED STATES OF AMERICA,       CASE NO. CV 91-00589 BRO
15   et al.,
16                       Plaintiffs, JOINT STATUS REPORT

17                                              Date:        TBD
                  v.                            Time:        TBD
18                                              Courtroom:   Spring Street 14
                                                Judge:       Hon. Beverly Reid
     SHELL OIL COMPANY, et al.,                              O'Connell
19
                                  Defendants.
20
21
22                                    INTRODUCTION

23        This case was reassigned to the Honorable Beverly Reid O'Connell on
24   November 21, 2013. The parties submit this joint report pursuant to the Court's
25   order ofNovember 22, 2013, which requires a Joint Status Report "as to any
26   remaining claims and/or parties in this action."
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 1                                         PARTIES
 2        The two plaintiffs in this action to recover environmental cleanup costs are ( 1)
 3   the United States of America ("United States") and (2) the State of California, ex
 4   rel. California Department of Health Services, Hazardous Account, and Hazardous
 5   Substance Cleanup Fund ("State"). The four remaining defendants are (1) Shell Oil
 6   Company, (2) Union Oil Company of California, (3) Atlantic Richfield Company
 7   and (4) Texaco, Inc. (collectively, the "Oil Companies").
 8            SUMMARY OF LITIGATION AND REMAINING CLAIMS
 9   I.   CASE HISTORY
1o        The McColl Superfund Site ("McColl Site") is located in Fullerton, California.
11   During World War II, the real property that now comprises the McColl Site
12   received oil refinery wastes generated by the Oil Companies in the production of
13   civilian petroleum products and military petroleum products, including high-octane
14   aviation fuel ("avgas") manufactured for the United States. In the 1980's and
15   thereafter, the United States, the State and the Oil Companies incurred costs
16   addressing the investigation and cleanup of the acid sludge and other hazardous
17   substances at the McColl Site. A long-term remedy was selected and implemented
18   during 1995-1997, involving a capping and containment of the hazardous
19   substances, plus a perpetual gas collection and treatment system and groundwater
20   monitoring. The Oil Companies subsequently preformed the remedy at the Site.
21   Costs continue to be incurred by the United States, the State and the Oil Companies
22   in relation to the ongoing implementation of the remedy.
23        In 1991, the United States and the State (collectively, "government plaintiffs")
24   filed suit against the Oil Companies (and other entities that have settled out of the
25   case), to recover the government plaintiffs' respective environmental response costs
26   related to McColl Site, pursuant to the Comprehensive Environmental, Response,
27   Compensation, and Liability Act ("CERCLA"), 42 U.S.C. §§ 9601, et seq.          Also
28   in 1991, the Oil Companies counterclaimed against the United States.

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  1           In 1993, the Court granted the government plaintiffs' Motions for Summary
 2    Judgment, holding the Oil Companies jointly and severally liable under CERCLA,
 3    42 U.S.C. § 9607(a), for environmental response costs related to contamination at
 4    the McColl Site, in United States ofAmerica, et al. v. Shell Oil Company, et al.,
 5    841 F. Supp. 962 (C.D. Cal. 1993). The United States Court of Appeals for the
 6    Ninth Circuit affirmed this judgment on June 28, 2002. (Docket No. 505.)
 7            On December 12, 1994, the Court entered a consent decree entitled "Partial
 8    Consent Decree Among Plaintiffs and Oil Company Defendants Regarding Certain
 9    Cost Claims and Order" ("1994 Consent Decree"). (Docket No. 270). Pursuant to
10    the 1994 Consent Decree, the Oil Companies paid $13,248,000.00 to resolve the
11    United States' claim for "Past United States Response Costs," and $4,752,000.00 to
12    resolve the State's claim for "Past State Response Costs," which generally
13    consisted of costs incurred by the United States and the State during the 1980's and
14    a portion of 1990. In Section VII of the 1994 Consent Decree, the parties to the
15    decree acknowledged that the Court's September 28, 1993,judgment and order
16    constituted a declaratory judgment pursuant to Section 113(g)(2) of CERCLA in
17    favor of the United States and the State against the Oil Companies for "Ongoing
18    Response Costs," as defined in the 1994 Consent Decree. The parties further
19    acknowledged in the 1994 Consent Decree the rights of the United States and the
20    State to seek to recover these Ongoing Response Costs in this case and the rights of
21    the Oil Companies to challenge such costs. 1994 Consent Decree, pp. 6, 13.
22    However, the parties also agreed that "[n]o such final judgment shall be entered
23    against the [Oil Companies] prior to entry of judgment on the counterclaims
24    asserted by these defendants in this action." Id. at ,r 14.
25         On September 18, 1995, the Court adjudged the United States, in its capacity
26    as a counterclaim defendant, to be a liable party with respect to the McColl Site
27    pursuant to Section 107(a)(3) of CERCLA, 42 U.S.C. § 9607(a)(3). (Docket No.
28    379.)

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  1         On August 11, 1998, the Court issued a Memorandum and· Order finding the
  2    United States to be responsible for 100 percent of the response costs incurred by the
  3    government plaintiffs in relation the McColl Site. (Docket No. 478.)
  4         A stipulated Final Judgment Pursuant to Rule 54(b) FRCP was entered on
  5    October 13, 1999, allowing the CERCLA liability issues of the Oil Companies and
  6    the United States to be appealed. (Docket No. 489.)
  7         On June 28, 2002, the United States Court of Appeals for the Ninth Circuit
  8    affirmed this judgment with respect to the liability of the Oil Companies for
  9    CERCLA response costs related to the McColl Site and also the liability of the
 10    United States with respect to wastes at the.McColl Site resulting from the
 11    production of benzol. The Court also ruled that United States was not liable under
 12    CERCLA as an arranger for disposal of the non-benzol wastes, and therefore the
 13    trial court's allocation of 100 percent of the liability. for all such wastes at the site
 14    was moot. United States, et al. v. Shell Oil Company, et al., 294 F.3d 1045, 1048-
 15    1049, 1059-1061 (9th Cir. 2002). Two petitions for certiorari subsequently filed by
 16    the Oil Companies were denied by the Supreme Court of the United States on
 17    January 13, 2003.
 18         In August 2003, to resolve the Oil Companies' CERCLA-based counterclaims
 19    against the United States, the Oil Companies and the United States stipulated that
20     the United States' share of legal responsibility under CERCLA for response costs
 21    related to the McColl Site, based on the United States' liability pursuant to
 22    CERCLA for the benzol wastes deposited at the Site, is 6.25%. Joint Request For
 23    Status Conference (Aug. 12, 2003) at 1-2, n. 1 (Docket No. 507). On October 29,
 24    2003, this Court denied the request of the Oil Companies to conduct further
 25    allocation proceedings regarding the non-benzol wastes at the Site and associated
· 26   response costs (Docket No. 510).
 27         As a result of the stipulation and the Court's ruling described above, the Oil
 28    Companies are legally responsible under CERCLA for 93.75 percent of the

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  1   response costs incurred by the United States and the State in relation to the McColl
  2   Site. With respect to the costs previously resolved pursuant to the 1994 Consent
  3   Decree, the United States is responsible under CERCLA for reimbursing the Oil
  4   Companies for the United States' 6.25 percent share of the costs paid by the Oil
  5   Companies to the State pursuant to the 1994 Consent Decree.
  6           On April 8, 2005, pursuant to the Court's Amended Order to Transfer Certain
  7   Counterclaims to the Court of Federal Claims, all remaining counterclaims filed by
  8   the Oil Companies against the United States were dismissed or transferred to the
  9   Court of Federal Claims. (Docket No. 529.)
 10        During February 2006, the United States and the State each filed motions for
 11   summary judgment for their respective CERCLA response costs incurred generally
 12   from mid-1990 through June 1994. The Oil Companies filed an ex parte
 13   application to deny or stay the motions on February 22, 2006. The Hon. Robert J.
 14   Kelleher issued a Minute Order on March 20, 2006, finding that "the Motions for
 15   Summary Judgment are appropriate for decision without oral argument." The
 16   motions were deemed submitted and the hearing date was vacated. (Docket No.
 17   583.)
 18        The United States, the State and the Oil Companies filed a Joint Request for
 19   Decisions on Submitted Motions for Summary Judgment on December 5, 2006.
20    (Docket No. 593.) On January 31, 2007, the parties filed a Joint Request to Chief
21    Judge to Establish an Intended Decision Date Pursuant to L.R. 83-9.4. (Docket No.
22    594.) On May 21, 2007, Chief Judge Stotler issued an Order Establishing an
23    Intended Decision Date, which required a decision to be rendered on the plaintiffs'
24    summary judgment motions no later than 120 days after the decision by the Court
25    of Federal Claims, in Washington, D.C., on certain dispositive motions in that court
26    (i.e., the Oil Companies' motion for summary judgment and the United States'
27    motion to dismiss) becomes final. (Docket No. 598.) On June 26, 2007, the State
28    filed a Motion for Modification of Intended Decision Date and the United States

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  1   filed a Motion for Reconsideration of Intended Decision Date on June 27, 2007.
  2   The Oil Companies opposed the motions. (Docket Nos. 599, 600, 604.)
  3        Chief Judge Stotler issued a Tentative Ruling on Law & Motion Matters on
  4   August 31, 2007, stating the Chief Judge will consult with the judge assigned to the
  5   summary judgment motions. (Docket No. 608.)
  6        On October 1, 2007, Judge Kelleher issued a Minute Order vacating the
  7   Court's order of submission dated March 20, 2006, stating that the Court had
  8   signed the Oil Companies' Proposed Order Granting Defendants' Ex Parte
  9   Application for an Order Denying Without Prejudice Plaintiffs' Premature Motions
 10   for Summary Judgment. This order denied the United States' and the State's
 11   motions for summary judgment without prejudice and further provided that "No
 12   party to this action shall file any dispositive motions, including motions for
 13   summary judgment, until further order of the Court, which order may be requested
 14   by any party by noticed motion." (Docket No. 610.) Chief Judge Stotler took
 15   judicial notice of this order and, on October 4, 2007, denied as moot the
 16   government plaintiffs' motions for modification and reconsideration. (Docket No.
 17   611.)
 18        On July 10, 2009, the State resolved its CERCLA cost recovery claim against
 19   the United States, in its capacity as a liable party for 6.25 percent of the State's
20    response costs related to the McColl Site, for the period of October 1990 through
21    June 2008, with the entry of a Partial Consent Decree. (Docket No. 619.) The
22    alleged liability of the Oil Companies for 93. 7 5 percent of the State's response
23    costs for this time period was not resolved.
24            On March 16, 2012, the State resolved its CERCLA cost recovery claim
25    against the United States, in its capacity as a liable party for 6.25 percent of the
26    State's response costs related to the McColl Site, for the period of July 2008
27    through June 2011, with the entry of another Partial Consent Decree. (Docket No.
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  1   622.) The alleged liability of the Oil Companies for 93.75 percent of the State's
  2   response costs for this time period was not resolved.
  3         In Washington, D.C., the Oil Companies' non-CERCLA, contract-based
  4   claims against the United States concerning the production of avgas have been
  5   litigated since 2005 in both the Court of Federal Claims and the United States Court
  6   of Appeals for the Federal Circuit. In those proceedings, the Oil Companies have
  7   sought in excess of $84 million in alleged costs and interest from the United States.
  8   In 2008 and 2009, Senior Judge Smith of the Court of Federal Claims issued final
  9   decisions in favor of the Oil Companies as to both liability and damages. See Shell
 10   Oil Company, et al. v. United States, 80 F€d. CL 411 (Fed. CL 2008); 86 Fed. CL
 11   470, 475 (2009). Subsequently, however, Judge Smith discovered and informed the
 12   parties that his wife owned a small amount of stock in a parent company of two of
 13   the Oil Companies. On the United States' motion, the United States Court of
 14   Appeals for the Federal Circuit vacated these judgments and required Judge Smith
 15   to recuse himself from the case. Shell Oil Company, et al. v. United States, 672
 16   F.3d 1283 (Fed. Cir. 2012). On January 14, 2013, a different Court of Federal
 17   Claims judge, Judge Wheeler, granted summary judgment for the United States.
 18   Shell Oil Company, et al. v. United States, 108 Fed. CL 422 (2013). The Oil
 19   Companies have appealed that decision to the United States Court of Appeals for
20    the Federal Circuit. Briefing in that appeal, Shell Oil Company, et al. v. United
21    States, Case No. 2013-5051, is now complete and the matter is set for oral
22    argument on January 7, 2014.
23    II.   REMAINING CLAIMS

24          The remaining claims in this case consist of ( 1) the United States' claim under
25    CERCLA for environmental response costs incurred generally between July 1,
26    1990 and June 30, 2012, plus related prejudgment interest, in an amount that the
27    United States alleges totals approximately $43 million and (2) the State's claim
28    under CERCLA for environmental response costs incurred generally between

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  1   October 1990 and the June 30, 2013, plus related prejudgment interest, in an
  2   amount that the State alleges totals approximately $5. 7 to $6 million. As noted
  3   above, the State has settled with the United States for 6.25 percent of the State's
  4   claim for costs incurred between October 1990 through June 2011.
  5   III.   GOVERNMENT PLAINTIFFS' STATEMENT

  6          A.   This Case Has Been Delayed Too Long
  7          The key question for the Court to resolve at this juncture is whether the United
  8   States and the State can proceed with their outstanding cost recovery claims in this
  9   case, while the Oil Companies' contract-related claims against the United States are
 10   pending in the United States Court of Appeals for the Federal Circuit in
 11   Washington, D.C. The United States and the State wish to proceed; the Oil
 12   Companies do not.
 13          The Oil Companies' contract-based counterclaims that were transferred away
 14   from this case to the Court of Federal Claims over eight years ago, in April 2005,
 15   are still being litigated, currently in the Federal Circuit Court of Appeals. There is
 16   no well-defined time frame for that separate litigation to end. It is no longer
 17   reasonable to prevent the United States and the State from pursuing their cost
18    claims in this case, due to that separate non-CERCLA litigation, especially in light
19    of the fact that on several occasions throughout the long history of this case this
20    Court has recognized the government plaintiffs' unfettered rights to proceed to
21    judgment, notwithstanding the Oil Companies' breach of contract counterclaims, as
22    described below.
23           B.   When the Court Granted Summary Judgment for the Plaintiffs
                  in 1993;, It Recognized Cong_ress' Intent to Allow Government
24                Plaintitfs to Recover Their Costs While Counterclaims Are
                  Pending
25
26           The law of CERCLA, including the law of this case, provides for the
27    resolution of government cost recovery claims before counterclaims are resolved.
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  1   When granting summary judgment to the United States and the State in 1993, the
  2   Court stated:
  3             CERCLA clearly provides that cost recovery claims can be sought
  4        before counterclaims are resolved. And the legislative history of
  5        CERCLA indicates that Congress intended for the Governments to be
  6        entitled to its costs prior to the resolution of any counterclaims or cross-
  7        claims for contribution.
  8        United States v. Shell Oil Co., 841 F.Supp. 962, 975 (C.D. Cal. 1993.)
  9        This Court further stated:
 10             The possibility of partial liability on the part of the governments
 11        ought not to stand as a bar to expeditious recovery of response costs, as
 12        Defendants will be reimbursed in the event the governments are found
 13        liable. US. v. Western Processing Company, 748 F.Supp. 930, 939-40
 14        (W.D. Wash. 1990). The Court is of the opinion that allowing the
 15        governments to recover their response costs before resolving Defendants'
 16        counterclaims and cross-claims will not unduly prejudice Defendants as
 17        they will be reimbursed in the future for any costs paid to the Superfund
 18        that are properly attributable to other parties. Id.
 19        These explicit rulings are inconsistent with the delay of this litigation that has
20    been in effect since 2007, when the plaintiffs' motions for summary judgment to
21    recover costs incurred from 1990 forward were dismissed without reaching the
22    merits of the motions.
23         C.   The 1994 Consent Decree Allows the United States and the State
                to Recover Their Ongoing Response Costs
24
25         Ever since December 1994, when this Court approved the 1994 Consent
26    Decree and declared that its Judgment and Order of September 28, 1993, constitutes
27    a declaratory judgment for "Ongoing Response Costs," this Court has recognized
28    the rights of the United States and the State to pursue their response costs. 1994

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  1   Consent Decree) 110, p. 13.(Docket No. 270.) Paragraph 19 of the 1994 Consent
  2   Decree provides: "Settling Defendants likewise agree they will not seek to stay or
  3   otherwise delay the supplemental response cost claim and further agree that the
  4   supplemental claim may proceed simultaneously with the counterclaims." 1994
  5   Consent Decree 119, p. 19, 1. 22-26. Nevertheless, since 2006 the Oil Companies
  6   have continued to attempt to do exactly the opposite.
  7         When the United States and the State respectively moved for summary
  8   judgment in 2006, they were not acting in contravention of Paragraph 14 of the
  9   1994 Consent Decree (Docket No. 270, p. 16, lines 14-19), as the Oil Companies
 10   assert, because they were not seeking a final judgment to terminate all of their
 11   claims for cost recovery in the District Court. Instead, the government plaintiffs
 12   were seeking summary judgments for specific sets of their respective response costs
 13   incurred up through June 2004. Additional United States and State response costs
 14   had been - and still are being -- incurred and the government plaintiffs have the
 15   right to seek them as Ongoing Response Costs pursuant to the 1994 Consent Decree.
 16        Any continued delay is wholly unwarranted, especially in light of the
 17   overarching reservation of rights the government plaintiffs included in Paragraph
 18   12 of the 1994 Consent Decree, which provides: "The United States and State
 19   reserve, and this Consent Decree is without prejudice to, all rights against Settling
 20   Defendants with respect to all other matters, including, but limited to: ... liability
 21   for Ongoing Response Costs; .... " (1994 Consent Decree 112, p. 14), 1. 20-23; p.
22    15, 1. 10.)
23         In summary, Paragraphs 19 and 12 of the 1994 Consent Decree establish the
24    rights of the United States and the State to proceed with their unresolved claims for
25    response costs. Now is the time to move this case forward.
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  1        D.    The 1999 Final Judgment Continues to Recognize the
                 Government Plaintfffs' Rights to Obtain Judgments for Their
  2              Costs
  3        The stipulated Final Judgment Pursuant to Rule 54(b) FRCP entered on
  4   October 13, 1999, contains a recital approved by the Oil Companies stating "the
  5   parties agree that Plaintiffs [the United States and the State] retain all of their rights
  6   to pursue their claims for response costs to judgment in this Court, .... " Final
  7   Judgment Pursuant to Rule 54(b) FRCP, p. 4,, 1. 1-3 (emphasis added). (Docket
  8   No. 489.) It is improper for the Oil Companies to attempt to argue away a
  9   provision to which they fully agreed, nearly five years after entry of the 1994
 1o   Consent Decree, and which the Court adopted in the form of a final judgment
 11   pursuant to Rule 54(b) of the Federal Rules of Civil Procedure. During 1999, the
 12   government plaintiffs included this specific provision in the final judgment to
 13   ensure that their rights to pursue their respective ongoing response costs, as
 14   recognized in the 1994 Consent Decree, remained in full force and effect after entry
 15   of a final judgment on other issues. The judgment has not been amended or
 16   abrogated in any way since 1999.
 17        E.   The Oil Companies Breach of Contract Counterclaims Were
                Removed from this Case in April 2005
 18
 19        This Court no longer possesses jurisdiction over any of the counterclaims filed
20    by the Oil Companies against the United States. On April 8, 2005, all remaining
21    counterclaims were dismissed or transferred to the Court of Federal Claims by the
22    Court's Amended Order to Transfer Certain Counterclaims to the Court of Federal
23    Claims. (Docket No. 529, p. 2.) The transfer was unequivocal, with no conditions
24    connecting this case to any proceeding in Washington, D.C., much less delaying
25    this case in any way. Therefore, there is no basis for binding the United States and
26    the State, as plaintiffs in a CERCLA cost recovery case pending in the U.S. District
27    Court in Los Angeles, to an entirely separate breach of contract lawsuit the Oil
28    Companies are pursuing against the United States. Ever since December 1994, the

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  1   Oil Companies have been liable to the United States and the State for Ongoing
  2   Response Costs, subject to the liability stipulation between the United States and
  3   the Oil Companies entered into in August 2003. (Docket No. 507.) The Oil
  4   Companies will remain liable for Ongoing Response Costs until all such claims of
  5   the government plaintiffs are settled or adjudicated. Therefore, this Court should
  6   not allow the mere existence of the Oil Companies' unresolved litigation in the
  7   Court of Federal Claims and the Court of Appeals for the Federal Circuit, over
  8   which this Court has no jurisdiction, to serve as road block to the United States'
  9   and the State's legitimate pursuit of their outstanding environmental response costs.
 10        F.   Indemnification Rirhts, If Any Exist, Are Legally Irrelevant to
                the Oil Companies CERCLA Liability
 11
 12        The basic contention of the Oil Companies has been that a ruling against the
 13   United States in the contract claim litigation occurring in the Court of Appeals for
 14   the Federal Circuit could effectively moot this action. This is legally incorrect.
 15   The Oil Companies have been found to be liable under the Comprehensive
 16   Environmental Response, Compensation, and Liability Act (CERCLA), 42 U.S.C.
 17   § 9607, for the environmental response costs the United States and the Stat~ have
 18   incurred, and will incur, in a manner not inconsistent with the National
 19   Contingency Plan, 40 C.F.R. Part 300, in connection with the McColl Site. All
20    appellate avenues on the major issue of the Oil Companies' CERCLA liability have
21    been exhausted. Thus, the Oil Companies will be liable under CERCLA regardless
22    of the outcome of the contract litigation and until all judgments liquidating the
23    United States' and the State's claims for CERCLA response costs have been
24    entered and resolved. A contractual right of indemnity, if found to exist by the
25    Court of Federal Claims in favor of the Oil Companies, unequivocally is not a
26    defense to the Companies' existing CERCLA liability to the government plaintiffs.
27    As CERCLA plainly states:
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  1             No indemnification, hold harmless, or similar agreement or
  2        conveyance shall be effective to transfer from the owner or operator of
  3        any vessel or facility or from any person who may be liable for a release
  4        or threat of release under this section, to any other person the liability
  5        imposed under this section.
  6        42 U.S.C. § 9607(e)(l).
  7        Thus, the issue of whether the Oil Companies might obtain a right of
  8   indemnity against the United States is irrelevant.
  9        G.   Conclusion
 10        In summary, there is no legal reason to delay this matter by tying it to the
 11   outcome of contract litigation in another case. The United States and the State
 12   respectfully request the Court to allow them to proceed with their outstanding cost
 13   recovery claims. If the Court believes further briefing is appropriate or a hearing
 14   before the Court would be helpful, the government plaintiffs are ready to respond.
 15   IV. STATE'S SUPPLEMENTAL STATEMENT
 16        The State is in a unique position here. The Oil Companies never filed any
 17   counterclaims against the State, based on contracts or any other matter. The
 18   contract-based and other counterclaims filed by the Oil Companies against the
 19   United States in 1991 were at issue, but never litigated against the United States for
 20   14 years, until April 2005, when the contract claims were transferred belatedly, but
 21   appropriately, to the Court of Federal Claims. The State is not a party to that
22    contract litigation. Based on the rulings, consent decrees and stipulation in this
23    case, as discussed above, the Oil Companies will be liable to the State under
24    CERCLA until the Oil Companies' liability for 93.75 percent of the State's
25    recoverable CERCLA response costs incurred generally since October 1990 is
26    resolved in the instant litigation. Moreover, regardless of the eventual outcome of
27    the contract claim litigation in Washington, D.C., the Oil Companies never will
28    possess a right of indemnification against the State for any outstanding costs related

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  1   to the McColl Site. Given these circumstances, there is no equitable basis for
  2   delaying this case as to the State.
  3        If the Court allows this case to proceed, as a first step, the State requests the
  4   Court to order mediation between the State and Oil Companies, pursuant to the
  5   Court-Directed ADR Program. Given the State's unique position here, mediation is
  6   a reasonable initial means of resolving the State's relatively minor cost claim in this
  7   matter. The State successfully has settled almost all of its claims against the United
  8   States regarding the United States' 6.25 percent share of liability for the States'
  9   costs related to the McColl Site. As it always has been during this litigation, the
 10   State is very interested at this time in resolving the Oil Companies' 93. 75 percent
 11   share of the liability for State response costs. A court-ordered settlement effort
 12   between the State and the Oil Companies at this time would promote the efficient
 13   administration of this case.
 14   V.   OIL COMPANIES' STATEMENT

 15        This action has been stayed since 2007 to allow the Oil Companies' claims
 16   against the United States to be resolved in the Court of Federal Claims prior to
 17   further proceedings in this action. For many years, the United States and State have
 18   made no effort whatsoever to overturn or terminate the stay. However, they are
 19   now attempting, through this Joint Status Report, to capitalize on the recent re-
20    assignment of this action by seeking to re-litigate issues that have already been
21    resolved by the prior judge. These efforts should be denied.
22         The stay should remain in place for four reasons: (A) the United States and
23    State, in accepting the prior $18 million payment from the Oil Companies for
24    certain costs, already agreed that no judgment on any of their additional costs will
25    be entered prior to entry of a judgment on the Oil Companies' claims against the
26    United States; (B) continuation of the stay will advance judicial economy; (C) the
27    original judge on this case, in consultation with the former Chief Judge of this
28    Court, already determined, based on the same arguments presented in this Joint

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  1   Status Report, that this action should be stayed; and (D) since the stay was granted,
  2   the Oil Companies have continued to pursue their claims against the United States
  3   diligently, and proceedings are moving forward in the Court of Federal Claims and
  4   the U.S. Court of Appeals for the Federal Circuit.
  5        A.     The United States and State Should Not Be Allowed to Renege
                  on Their Agreement Not to Seek a Judgment on Their
  6               Remaining Claims Prior to a Judgment on the Oil Companies'
                  Claims
  7
  8          In 1994, the Oil Companies paid $18 million to the United States and State to
  9   resolve claims for certain costs at the McColl site. See 1994 Consent Decree. In
 10   exchange, the United States and State agreed not to seek a final judgment to require
 11   the Oil Companies to pay any additional response costs prior to a judgment on the
 12   Oil Companies' claims against the United States. Id. The 1994 Consent Decree
 13   provides:
 14                 "No final judgment has been entered in this action from which
 15                 an appeal as of right may be taken and, by agreement of the
 16                 parties, no such final judgment shall be entered against the
 17                 Settling Defendants prior to the entry of judgment on the
 18                 counterclaims asserted by these defendants in this action."
 19                 (Emphasis added.) 1994 Consent Decree, 114.
20          This agreement made good sense at the time and still makes sense today. As
21    noted above, the Oil Companies are pursuing contract claims against the United
22    States that could both effectively moot the United States' cost claims and obviate
23    any need for the Oil Companies to challenge the State's costs. If the Oil
24    Companies prevail on their claims against the United States now pending in the
25    Federal Circuit, the United States will be responsible for the costs at issue in this
26    action, including the State's costs.
27         While the United States and State accepted the $18 million under the terms of
28    the 1994 Consent Decree, they have since attempted to breach their agreement by

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  1   seeking a judgment on their claims prior to the resolution of the Oil Companies'
  2   claims. In December 2005, the United States and State notified the Oil Companies
  3   that they intended to seek summary judgment on their additional alleged costs. See
  4   Declaration of Peter R. Taft in Support of Defendants' Opposition to United States'
  5   Ex Parte Application for Issuance of a Protective Order, ,-r 10 (Docket No. 563).
  6   The Oil Companies noted in a subsequent meet and confer that these motions
  7   would violate the 1994 Consent Decree, since the Oil Companies' claims against
  8   the United States were still pending, and proposed that the parties seek this Court's
  9   guidance on this issue in a joint status conference request. See Declaration of
 10   Cynthia L. Burch in Support of Defendants' Opposition to United States' Ex Parte
 11   Application for Issuance of a Protective Order, ,-r 10 (Docket No. 562). The United
 12   States and State refused and filed their motions in February 2006. (Id.; see also
 13   Docket No. 532.) The Oil Companies opposed those motions as premature and
 14   were required to expend substantial time and money doing so.
 15        In numerous motions, oppositions and status reports filed with this Court since
 16   2006, the United States and State have asserted various arguments, including the
 17   arguments repeated above, seeking to renege on their prior agreement. None of
 18   their arguments has merit.
 19         First, the United States and State have argued that paragraph 14 of the 1994
20    Consent Decree was rendered void by a "whereas" provision in a 1999 order
21    (Docket No. 489), which recites that plaintiffs "retain all of their rights to pursue
22    their claims for response costs to judgment in this Court." The Oil Companies have
23    never argued that the United State and State lost their right to pursue their claims.
24    The question is timing. The 1994 Consent Decree expressly provides that a
25    judgment on the United States and, State's additional costs must await entry of a
26    final judgment on the defendants' claims. 1994 Consent Decree, ,-r 14. The 1999
27    Order does not alter that agreement.
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  1         Second, the United States and State argue that paragraph 14 of the 1994
  2   Consent Decree should be disregarded, asserting that it conflicts with paragraph 19,
  3   which provides: "Settling Defendants likewise agree that they will not seek to stay
  4   or otherwise delay the supplemental response cost claim and further agree that the
  5   supplemental cost claim may proceed simultaneously with the counterclaims." In
  6   fact, the two provisions can be reconciled. Paragraph 19 merely provides that the
  7   cost claims "may proceed simultaneously with the counterclaims," while paragraph
  8   14 addresses the timing and order of the judgments on those claims. Whether or
  9   not it is possible under paragraph 19 for the parties to pursue these claims
 10   simultaneously through discussions or dis~overy, the United States and State cannot
 11   seek a judgment on their claims until a judgment has been issued on the Oil
 12   Companies' contract claims. Since a judgment on the Oil Companies' contract
 13   claims could effectively moot the claims against the Oil Companies in this
 14   litigation, it still makes good sense to maintain the stay as described in greater
 15   detail below.
 16         The government plaintiffs also cite various authority for the proposition that
 17   contractual indemnification rights are no defense to CERCLA claims. However,
 18   none of those cases support the proposition that the parties cannot decide among
 19   themselves the order in which they will seek judgment against each other, as the
20    parties here did in agreeing to the terms of the 1994 Consent Decree.
21         Since the United States and State already agreed under the terms of the 1994
22    Consent Decree not to seek a judgment on their claims prior to entry of judgment
23    on the Oil Companies' claims against the United States, they should not be allowed
24    to breach that agreement and circumvent the decree now.
25         B.   Continuation of the Stay Would Advance Judicial Economy
26         A court has inherent authority to manage its docket and schedule in
27    furtherance of judicial economy. See Fed. R. Civ. P. 16(b); Zivkovic v. Southern
28    California Edison Co., 302 F.3d 1080, 1087-88 (9th Cir. 2002) (district courts have

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  1   broad discretion to modify the trial schedule); Stewart v. Ragland, 934 F.2d 1033,
  2   1042 (9th Cir.1991) ("A trial judge is given broad discretion in supervising the
  3   pretrial phase of the litigation.... "); Rivers v. Walt Disney Co., 980 F. Supp. 1358,
  4   1360 (C.D. Cal. 1997) (powers to stay or otherwise manage proceedings are within
  5   the trial court's discretion). Under the circumstances, it makes good sense for this
  6   Court to continue the stay of this action to advance judicial economy.
  7        As noted above, the parties and Court already have agreed that no judgment
  8   will be issued on the claims of the United States and State prior to a judgment on
  9   the Oil Companies' claims. Therefore, even if the United States and State are
 10   allowed to conduct fact and expert discovery and engage in motion practice at this
 11   time, any judgment on the claims in this action would still need to await a final
 12   judgment on the Oil Companies' claims in the Court of Federal Claims and Federal
 13   Circuit. Since a judgment on these claims could moot the United States' claims
 14   while obviating any need for the Oil Companies to challenge the State's costs, any
 15   further proceedings in this action or court-ordered mediation could constitute a
 16   complete waste of time, money and resources.
 17        Under the circumstances, this Court can and should enforce the 1994 Consent
 18   Decree by exercising its discretion to continue the stay in this action to avoid the
 19   substantial waste of resources that could result if this litigation resumes or the
20    parties are directed to court-ordered mediation prior to a resolution of the
21    proceedings in the Court of Federal Claims and Federal Circuit.
22         C.   Judge Kelleher, in Consultation with the former Chief Judge of
                This Court, Already Determined Based on the Same Arguments
23              Presented Here That This Action Should Be Stayed
24         After reviewing the arguments of the parties (including the same arguments
25    now put forward by the United States and State above), Judge Kelleher previously
26    determined that the United States and State should not be allowed to proceed with
27    their motions for summary judgment, and that this litigation should be stayed.
28    (Docket Nos. 609, 610.) On October 1, 2007, Judge Kelleher signed the Oil

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  1   Companies' proposed order granting their Ex Parte Application, denying the
  2   United States' and State's motions for summary judgment on their costs and staying
  3   further proceedings. (Docket No. 610.)
  4        Judge Kelleher's decision to stay this action followed a hearing on the parties'
  5   various motions presided over by Judge Stotler, the former Chief Judge of this
  6   Court. (See Docket No. 609.) In issuing his order, Judge Kelleher expressly noted
  7   that he issued the order for a stay "after meeting and extensive discussion with
  8   Chief Judge Stotler." Id.
  9        Therefore, the issues raised in the United States' and State's portion of this
 10   Joint Status Report were previously fully argued, considered and resolved by the
 11   prior judge. Based on these arguments, the judge had determined to maintain the
 12   stay consistent with the intent of the 1994 Consent Decree and considerations of
 13   judicial economy.
 14        D.   The Oil Coll!panies Have Diligently Pursued Their Claims
                Against the United States                 .
 15
 16        Since before the stay was first granted in this action, the Oil Companies have
 17   diligently pursued their claims against the United States, and proceedings are
 18   moving forward in the Court of Federal Claims and the Federal Circuit
 19        As described above, the Oil Companies and t~e United States have been
20    actively litigating in the Court of Federal Claims for several years. Given the
21    recusal ofthe original trial judge upon the United States' motion, the original
22    rulings and orders in those proceedings were vacated, and it was necessary for the
23    parties to litigate many of the issues a second time. As a result, the proceedings in
24    the Court of Federal Claims have taken more time than anticipated. However, the
25    proceedings are moving forward, and oral arguments in the United States Court of
26    Appeals for the Federal Circuit are scheduled for January 7, 2014, as noted above.
27         Since the Oil Companies are continuing to diligently pursue their claims
28    against the United States in the Court of Federal Claims and the Federal Circuit,

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  1   there is no reason for this Court to change course by terminating the stay at this
  2   time.
  3           E.   Conclusion
  4           For the foregoing reasons, the Oil Companies do not believe that any further
  5   proceedings in this action are necessary at this time. Once the Oil Companies'
  6   contract claims are resolved, the parties, in consultation with this Court, can
  7   determine whether any further proceedings are needed.
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  1                                             Respectfully submitted,
  2                                             PLAINTIFF STATE OF
                                                CALIFORNIA, et al.

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  4
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                                                General
  6                                             California Department of Justice
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  7                                             al.
  8
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 26                                             ~IZ~
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                         DECLARATION OF SERVICE BY U.S. MAIL

 Case Name:     United States of America, et al. v. Shell Oil Company, et al.
 No.:           U.S.D.C. Central District, No. 2:91-cv-00589 RJK

 I declare:

 I am employed in the Office of the Attorney General, which is the office of a member of the
 California State Bar, at which member's direction this service is made. I am 18 years of age or
 older and not a party to this matter. I am familiar with the business practice at the Office of the
 Attorney General for collection and processing of correspondence for mailing with the United
 States Postal Service. In accordance with that practice, correspondence placed in the internal
 mail collection system at the Office of the Attorney General is deposited with the United States
 Postal Service with postage thereon fully prepaid that same day in the ordinary course of
 business.

 On December 6, 2013, I served the attached JOINT STATUS REPORT

 by placing a true copy thereof enclosed in a sealed envelope in the internal mail collection
 system at the Office of the Attorney General at 110 West A Street, Suite 1100, P.O. Box 85266,
 San Diego, CA 92186-5266, addressed as follows:
                                                      William A. Weinischke, Esq.
 Greg A. Christianson, Esq.                           Environmental Enforcement Section
 James J. Dragna, Esq.                                Environment & Nat. Resources Division
 Sang (Alvin) Lee, Esq.                               United States Dept. of Justice
 Bingham Mccutchen LLP                                P. 0. Box 7611 Ben Franklin Station
 355 South Grand Avenue, Ste. 4400                    Washington, D.C. 20044
 Los Angeles, CA 90071-3106                           Counsel for the United States as Plaintiff
 Counsel for Shell Oil Company, Union Oil
 Company of California, Atlantic Richfield
 Company, and Texaco, Inc.
                                                   ' I   ~   i
 Joshua M. Levin, Esq.
 Environmental Defense Section
 Environment and Nat. Resources Division
 United States Department of Justic~
 P.O. Box 7611
 Washington, D.C. 20044
 Counsel for the United
 States as Counterclaim Defendant

 I declare under penalty of perjury under the laws of the State of California the foregoing is true
 and correct and that this declaration was executed on December 6, 2013, at San Diego,

 California.
               Linda Jean Fraley
                                                             ~~
                                                              .·.,··-·
                                                                                             =-
                  Declarant                                        .        1g
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                            CERTIFICATE OF SERVICE

Case           United States of America,          No    CV 91-0589 RJK (Ex)
Name:          et al. v. Shell Oil
               Company, et al.

I hereby certify that on March 6, 2019, I electronically filed the following
documents with the Clerk of the Court by using the CM/ECF system:
                                JOINT STATUS REPORT
Participants in the case who are registered CMIECF users will be served by the
CM/ECF system.
 I am employed in the Office of the Attorney General, which is the office of a
 member of the California State Bar at which member's direction this service is
 made. I am 18 years of age or older and not a party to this matter. I am familiar
 with the business practice at the Office of the Attorney General for collection and
 processing of correspondence for mailing with the United States Postal Service. In
 accordance with that practice, correspondence placed in the internal mail collection
 system at the Office of the Attorney General is deposited with the United States
 Postal Service with postage thereon fully prepaid that same day in the ordinary
 course of business.
 I ·further certify that some of the participants in the case are not registered CM/ECF
 users. On March 6, 2019, I have caused to be mailed in the Office of the Attorney
 General's internal mail system, the foregoing document(s) by First-Class Mail,
 postage prepaid, or have dispatched it to a third party commercial carrier for
 delivery within three (3) calendar days to the following non-CM/ECF participants:

  Kermit David Marsh                         Regina Liudzius Cobb
  Beam Bro beck & West                       Demetriou Del Guercio Springer & Francis
  1301 Dove Street, Suite 700                801 S. Grand Ave., Ste. 1000
  Newport Beach, CA 92660                    Los Angeles, CA 90017-4613
 Attorney for Deft. McA uley LCX             Attomey for Deft. McAuley LCS
 Corporation                                 Corporation
  Peter R. Taft                              Richard B. Stewart
  Munger Tolles & Olson                      U.S. Department of Justice
  355 S. Grand Ave., 35th FL                 Environment Enforcement Section
  Los Angeles, CA 90071-1560                 3 0 I Howard, Ste. 870
 Attorney for Deft.                          San Francisco, Ca 91405
 Texaco, Inc.                                Attorney for Plaintiff
                                             USA.
Case 2:91-cv-00589-CJC Document 644 Filed 03/06/19 Page 30 of 30 Page ID #:413




  ang M in Le
 11 005 Marcliff Rd.
 Ro k ille MD 20852
  .ttorney for Deft.
 Atlantic Richfield CompanJ



 l declare under penalty of perjw·y under the laws of the State of California the
 foregoing is true and correct and that this declaration was executed on March 6,
 2019 at San Diego California.



                Celia Valdi ia
                  Declarant                              Signature
 0200-1104341
 2129323 do X
